974 F.2d 1331
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jesse Wilson JEFFRESS, Plaintiff-Appellant,v.TITIUS and Seius, Public Officials of the State of Virginia;Edwin B. Baker, Commonwealth Attorney, County of Charlotte;Gordon Ragland, Director, Charlotte County Department ofSocial Services;  Board of Supervisors for the County ofCharlotte;  First State Bank;  Jack Petrie, DistrictDirector, Richmond District Office, Internal RevenueService;  Lawrence Douglas Wilder, Governor, Defendants-Appellees.
    No. 91-1639.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 31, 1991Decided:  August 31, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (CA-90-256-R)
      Jesse Wilson Jeffress, Appellant Pro Se.
      Roger Lewis Chaffe, Assistant Attorney General, Richmond, Virginia; Charles F. Midkiff, Regina Maria Policano, Midkiff &amp; Hiner, P.C., Richmond, Virginia; Margaret Ann Dean Moncure, Charlotte Courthouse, Virginia, for Appellees.
      W.D.Va.
      Affirmed.
      Before WILKINSON, WILKINS, and NIEMEYER, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Jesse Wilson Jeffress appeals from the district court's order denying several post-judgment motions.  Our review of the record and the district court's opinion discloses that there was no abuse of discretion and this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Jeffress v. Titius and Seius, No. CA-90256-R (W.D. Va.  May 20, 1991).  Jeffress' pending motions are denied.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    